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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                   MDL No. 2741
 LIABILITY LITIGATION
 ____________________________________      Case No. 3:23-cv-4946

 This document relates to:                 BAYER CORPORATION’S REPLY IN
                                           SUPPORT OF ITS MOTION TO DISMISS
 Jonas Perez-Hernandez v. Monsanto Co.,
 Case No. 3:23-CV-04946-VC                 Date:    Feb. 15, 2024
                                           Time:    10:00 a.m.
                                           Place:   San Francisco, Courtroom 4, 17th Floor
                                           Judge:   Hon. Vince G. Chhabria
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                                        INTRODUCTION
       Plaintiffs concede there is no general personal jurisdiction over Bayer Corp.             And

Plaintiffs’ alleged case-linked contacts are contradicted by the sworn declaration of Bayer Corp.’s

corporate secretary, Keith Abrams, and thus insufficient, under well-settled law, to confer specific

personal jurisdiction.

       There is no basis for Plaintiffs’ argument that Mr. Abrams’s declaration is controverted by

Bayer Corp.’s prior “actions and public statements.”          The supposed “inconsistent” public

statements are nothing more than statements on bayer.com about the broader Bayer enterprise’s

products and facilities.    None even purport to identify the legal entities responsible for

manufacturing, selling, marketing, advertising, or distributing Roundup® products.             To the

contrary, the website makes clear that the broader Bayer enterprise is made up of several divisions

and hundreds of distinct companies. Accordingly, Mr. Abrams’s declaration is the only relevant

evidence of Bayer Corp.’s role in the sale of Roundup® products—or, more accurately, lack

thereof. It is thus no surprise that, in cases in this MDL naming Bayer Corp., the plaintiffs have

repeatedly agreed to voluntarily dismiss claims against Bayer Corp. See, e.g., MDL Dkt. Nos.

2688, 6101, 14421, 15093, 15959, 16252, 17290.

       The Court should also reject Plaintiffs’ alternative request for jurisdictional discovery. As

Plaintiffs acknowledge, they are not entitled to such discovery when they lack any more than a

“hunch” that it would yield evidence supporting jurisdiction. Dkt. No. 26 (“Opp.”) at 14. Here,

even a “hunch” is a stretch. Plaintiffs’ relevant allegations are directly contradicted by unrebutted,

sworn testimony. There is no genuine factual dispute for discovery to address. And for the same

reason, Plaintiffs’ request for leave to amend as to Bayer Corp. should be denied as futile.

       Finally, Plaintiffs’ response on Bayer Corp.’s Rule 12(b)(6) arguments relies on a

misstatement of their allegations. Plaintiffs claim they made allegations specifically as to Bayer

Corp., but their complaint shows they in fact made those allegations as to “Defendants,” “Bayer”




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(defined to include Bayer AG), or an unnamed “subsidiary.” And Plaintiffs’ complaint also alleges

no facts that would support their suggestion that Bayer Corp. has alter-ego liability.

                                          ARGUMENT
I.     PLAINTIFFS DO NOT CONTEST THERE IS NO GENERAL PERSONAL
       JURISDICTION.

       Plaintiffs do not address Bayer Corp.’s argument that this Court lacks general personal

jurisdiction and have thus forfeited any contrary argument. Tyler v. Travelers Com. Ins., 499 F.

Supp. 3d 693, 701 (N.D. Cal. 2020) (“Plaintiff concedes these arguments by failing to address

them in her opposition.” (collecting cases)).
II.    PLAINTIFF’S ALLEGATIONS AS TO SPECIFIC PERSONAL JURISDICTION
       ARE DISREGARDED IN THE FACE OF A CONTRARY DECLARATION AND
       THEIR “EVIDENCE” IS IRRELEVANT.
       A.      Plaintiffs’ Allegations About Bayer Corp. Cannot Sustain Personal
               Jurisdiction Because They are Contradicted by Sworn Testimony.
       Plaintiffs begin their argument by repeating their allegations that Bayer Corp. has

“persisted in designing, developing, manufacturing, testing, packaging, marketing, distributing,

labeling, and/or selling Roundup,” including in California.1        Opp. 7-8.    They claim these

allegations “demonstrate availment.” Id. at 8; see also id. at 12 (relying on these same allegations

to argue for purposeful direction). But those allegations are refuted by the declaration submitted

by Bayer Corp.’s corporate secretary, Mr. Abrams. Dkt. No. 20-1 ¶¶ 7-8. It is settled law—and
has been for decades—that a complaint’s allegations are not presumed true for purposes of

personal jurisdiction when contradicted by affidavit. Ayla, LLC v. Alya Skin Pty. Ltd., 11 F.4th

972, 978 (9th Cir. 2021) (citing Data Disc., Inc. v. Sys. Tech. Assocs., 557 F.2d 1280, 1284 (9th

Cir. 1977)); see also Johnson v. Charter Commc’ns, Inc., 2022 WL 2643980, at *4 (N.D. Cal. Jul.


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  Plaintiffs also rely on allegations that Bayer Corp. derives “substantial revenue from
[unspecified] goods and products used in California and nationwide.” Opp. 8. But the sale of non-
Roundup® “goods and products” is not related to Plaintiffs’ claims, and it is thus irrelevant to the
specific personal jurisdiction analysis. See Walden v. Fiore, 571 U.S. 277, 284 (2014) (“For a
State to exercise jurisdiction consistent with due process, the defendant’s suit-related conduct must
create a substantial connection with the forum State.”) (emphasis added).


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8, 2022) (“That evidence [submitted by defendant] squarely controverts Guss’s allegations,

meaning that she can no longer rely on the complaint to establish personal jurisdiction, but must

instead submit sworn evidence of her own.”). Plaintiffs’ allegations thus cannot support personal

jurisdiction.
        B.      Plaintiffs’ Attempt to Manufacture a Factual Dispute About Bayer Corp.’s
                Case-Linked Contacts is Baseless.
        Recognizing the import of the settled law, Plaintiffs next argue that the Court should

discount Mr. Abrams’s declaration because it is controverted by “Bayer Corp.’s own actions and

public statements.” Opp. 8. Plaintiffs’ supposed “evidence” does not support their argument.

        First, Plaintiffs suggest that Mr. Abrams’s declaration conflicts with the fact that Bayer

Corp. is “registered to do business in California.” Opp. 8 (citing Dkt. No. 26-2, a screenshot

showing that Bayer Corp. is registered with California as an out-of-state stock corporation). There

is no conflict or inconsistency there. Being registered in California is different from maintaining

an office or employees in California, and certainly different from selling, marketing, advertising,

distributing, or manufacturing Roundup® products in California.

        Second, Plaintiffs argue that Bayer must be operating in California because a “transparency

in Supply Chains Act Statement” required by California law appears on bayer.com.2 Opp. 8 (citing

Dkt. No. 26-3). That is not correct. That statement does not mention glyphosate or Roundup®

products, so it is irrelevant to specific personal jurisdiction here. See Dkt. No. 26-3. It also does
not purport to be a statement by or about Bayer Corp. specifically (it does not even mention Bayer


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  Plaintiffs err in repeatedly suggesting that bayer.com is “Bayer Corp.’s website.” Opp. 6, 8-10
& nn. 4-5, 9-10. Bayer.com is the website of Bayer’s “global enterprise,” which the website notes
is made up of hundreds of separate Bayer affiliate companies. See “This is Bayer,” online at
www.bayer.com/en (“Bayer is a global enterprise . . . .”); “Subsidiary and affiliated companies,”
online       at     www.bayer.com/sites/default/files/2020-11/asm-2019-subsidiary-and-affiliated-
companies-of-the-bayer-group-2018.pdf (listing hundreds of subsidiaries and affiliates “of Bayer
AG and the Bayer Group”); “List of active Bayer companies with at least a share of 50%,” online
at www.bayer.com/sites/default/fides/GDIS_Companies_EN.pdf (listing hundreds of separate
Bayer entities, including 118 in the United States). Plaintiffs’ assertion that Bayer Corp. “holds
the facilities and products out to the public as though they are entirely its own” (Opp. 10) is thus
baseless.


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Corp.), but a broader statement about the Bayer enterprise, expressly identified as including

multiple different companies. Id. at 1 (noting that the statement sets forth “steps taken by Bayer

AG and its relevant affiliates (‘Bayer’)”) (emphasis added). Nothing in this document suggests,

as Plaintiffs imply, that any action taken by Bayer AG or any of its hundreds of affiliates is an

action by Bayer Corp.

        Third, Plaintiffs’ reliance on bayer.com’s identification of “Our Locations” (Opp. 8-9 &

Dkt. No. 26-5) is misplaced. This webpage purports to identify the locations of “Bayer” facilities

in the United States. It does not state that those facilities are operated or owned by Bayer Corp. or

its employees rather than any number of other Bayer affiliate companies.3 See Scanlon v. Curtis

Int’l Ltd., 465 F. Supp. 3d 1054, 1062 (E.D. Cal. 2020) (“Plaintiff’s evidence of screen images of

‘Technicolor’s’ website purportedly showing its North American headquarters in Los Angeles and

that ‘Technicolor’ has job postings in Los Angeles, does not attribute those activities in California

to Technicolor SA.” (cleaned up)); BBA Aviation PLC v. Super. Ct., 190 Cal. App. 4th 421, 432

(2010) (“The use of ‘we’ or ‘the Company’ or ‘BBA’ does not prove that BBA and Ontic were a

single entity in practice and does not turn a holding company into an operating company.”).

Plaintiffs attempt a “gotcha” by noting that bayer.com users are told to direct “queries or

comments” to Bayer Corp. Opp. 9. But again, this does not contradict Mr. Abrams’s declaration:

Bayer Corp. is a holding company (Abrams Decl. ¶ 7), and there is no inconsistency in it receiving

comments or inquiries directed to various operating affiliates.

        Finally, Plaintiffs’ reliance on bayer.com’s “Products” page is unavailing for the same

reason. Plaintiffs’ own brief notes that this webpage refers to the broader “Bayer brand.” Opp. 9-

10; Dkt. No. 26-6. It does not suggest that Bayer Corp., rather than any other Bayer affiliate, is

responsible for manufacturing, selling, distributing, marketing, advertising, or labeling Roundup®

products—or any of the other referenced products. See Perez v. Indian Harbor Ins., 613 F. Supp.


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 Even if it were a reasonable inference that these facilities are operated by Bayer Corp. (and it is
not), Plaintiffs point to no evidence that any of these facilities are involved in the sale, manufacture,
marketing, distribution, or labeling of Roundup® products.


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3d 1171, 1177 (N.D. Cal. 2020) (reference to “XL Caitlin” in insurance policy did not support

personal jurisdiction over insurance company’s parent and holding companies, XL America and

XL Group, because “XL Caitlin is a brand name not a legal entity”); see also id. (“[I]nsignificant

contacts, such as a trade name on a policy or correspondence, does not subject holding companies

. . . to personal jurisdiction.”). Mr. Abrams’s unrebutted declaration shows that, in fact, Bayer

Corp. does not engage in any of those activities. Abrams Decl. ¶¶ 7-8.

       Plaintiffs’ assertion that the bayer.com website does not affirmatively “indicate that it lists

these facilities and products on behalf of any subsidiary or agent” (Opp. 10) is a non sequitur. The

bayer.com website never claims to be solely about the products or services of Bayer Corp., but

about all the different companies that are part of the broader Bayer brand. Cf. Moody v. Charming

Shoppes of Del., Inc., 2008 WL 2128955, at *3 (N.D. Cal. May 20, 2008) (“Generic language on

[a company’s] website and in its press releases simply do[es] not rise to the day-to-day control

required to impute the subsidiary’s contacts to the parent.”). Nor can Plaintiffs point to any

requirement that a website set forth the specific corporate entities responsible for any products or

services.
       C.      Plaintiffs Lack Factual Support for Their Suggestion that Monsanto has Acted
               as Bayer’s Agent.
       Plaintiffs briefly suggest that no matter whether they can establish specific personal

jurisdiction based on Bayer Corp.’s own actions, they can establish specific personal jurisdiction
based on Monsanto’s actions. Opp. 10-11. They cite Daimler v. Bauman AG, 571 U.S. 117, 135

n.13 (2014), for the proposition that a corporation can “purposefully avail itself of a forum by

directing its agents or distributors to take action there.” Id. And they say it “seems likely” that

Monsanto is acting as Bayer Corp.’s agent. Opp. 10-11.

       Nothing supports Plaintiffs’ speculation that an agency relationship “seems likely.” As the

Ninth Circuit has explained, subsidiary companies are not presumed to be agents of their parent

companies (much less indirect parents). See Williams v. Yamaha Motor Co., 851 F.3d 1015, 1024-

25 (9th Cir. 2015). Rather, the alleged agent must “act on the principal’s behalf,” and “the parent



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company must have the right to substantially control its subsidiary’s activities.” Id. (quoting

Restatement (Third) of Agency § 1.01 (2006)). Plaintiffs allege no facts that would even suggest,

much less plausibly show, that Monsanto has acted on Bayer Corp.’s behalf, nor that Monsanto is

subject to Bayer Corp.’s substantial control. Rather, Plaintiffs assert only that “Bayer Corp. is

liable for Monsanto’s misconduct as Monsanto’s parent.” Opp. 6 (emphasis added). That is

insufficient. Williams, 851 F.3d at 1024-25; Harris Rutsky & Co. v. Bell & Clements Ltd., 328

F.3d 1122, 1134 (9th Cir. 2003) (“It is well-established that a parent-subsidiary relationship alone

is insufficient to attribute the contacts of the subsidiary to the parent for jurisdictional purposes.”).
III.    PLAINTIFFS SHOULD NOT BE PERMITTED JURISDICTIONAL DISCOVERY,
        WHICH WOULD BE NO MORE THAN A FISHING EXPEDITION.
        The Court should deny Plaintiffs’ request for jurisdictional discovery. As Plaintiffs

acknowledge, courts regularly deny such requests when based on “little more than a hunch” that

the discovery will yield evidence suggesting jurisdiction. E.g., Johnson, 2022 WL 2643980, at *4

(request for discovery is based on “little more than a hunch” when it is “based on bare allegations

in the face of specific denials made by the defendants”); Getz v. Boeing Co., 654 F.3d 852, 860
(9th Cir. 2011) (affirming denial of jurisdictional discovery where the plaintiffs’ claim of personal

jurisdiction was “both attenuated and based on bare allegations in the face of specific denials made

by the defendants”). Thus, to warrant jurisdictional discovery, a plaintiff “must offer some details

in support of the assertion that discovery will establish facts showing that a defendant is subject to
the court’s jurisdiction.” Rivera v. Invitation Homes, Inc., 2020 WL 8910882, at *8 (N.D. Cal.

Oct. 29, 2020).

        Plaintiffs offer no such details. Instead, they state in conclusory fashion that they are

seeking discovery into “their allegations and the actions and corporate separateness of the three

related defendants in this action.” Opp. 14. It is hard to imagine a less detailed request than for

discovery into “corporate separateness”—except perhaps a request for discovery on a party’s

“allegations” or “actions.” See Perez, 613 F. Supp. 3d at 1178-79 (denying jurisdictional discovery




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because plaintiff had not “identified specifically what he would hope to uncover through additional

jurisdictional discovery that has not already been provided . . . .”).

       Nor do Plaintiffs offer any reason to believe that their requested discovery would yield

evidence changing the outcome. They refer again to the supposed “factual dispute” created by

their clippings from the bayer.com website. Opp. 14. But as shown above, any such “dispute” is

illusory—a common website does not overcome the reality of distinct corporate existence. In re

Packaged Seafood Prod. Antitrust Litig., 338 F. Supp. 3d 1118, 1147 (S.D. Cal. 2018) (“Separate

corporate entities that hold themselves out to the public via websites as a singular entity do[] not

demonstrate unity of interest.”); Moody, 2008 WL 2128955, at *3 (“Generic language on [a

company’s] website and in its press releases simply do[es] not rise to the day-to-day control

required to impute the subsidiary’s contacts to the parent.”); Corcoran v. CVS Health Corp., 169

F. Supp. 3d 970, 984 (N.D. Cal. 2016) (“[C]ourts recognize that separate corporate entities

presenting themselves as one online does not rise to the level of unity of interest required to show

companies are alter egos.”).

       District courts rightly reject efforts to obtain jurisdictional discovery against a parent

company when the plaintiff offers “no evidence suggesting that the court should disregard the

corporate structure.” Barantsevich v. VTB Bank, 954 F. Supp. 2d 972, 997 (C.D. Cal. 2013)

(denying jurisdictional discovery against Russian parent bank when plaintiffs alleged the

California contacts of its subsidiaries); see also, e.g., Gardner v. Starkist Co., 418 F. Supp. 3d 443,

466 (N.D. Cal. 2019) (denying jurisdictional discovery because plaintiff did not make requisite

showing of foreign parent’s control over subsidiary with forum contacts); Hernandez v. Mimi’s

Rock Corp., 632 F. Supp. 3d 1052, 1061-62 (N.D. Cal. 2022) (denying jurisdictional discovery

because plaintiff did not demonstrate how discovery might change the Court’s conclusion that

subsidiary’s in-forum product sales could not establish personal jurisdiction against parent).

Plaintiffs have no more than conclusory allegations, which Bayer Corp. has already specifically

and unambiguously addressed with an unrebutted declaration. See, e.g., Barantsevich, 954 F.

Supp. at 997 (“The evidence VTB Bank proffers concerning the legal separateness of the entities


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is uncontroverted.”). This Court need not and should not grant them license for a fishing

expedition.
IV.     PLAINTIFFS’ RESPONSES TO BAYER CORP.’S OTHER ARGUMENTS ALSO
        FAIL.
        A.      Bayer Corp. Adopts and Incorporates by Reference Monsanto’s Reply in
                Support of its Motion to Dismiss.
        Bayer Corp.’s opening brief adopted Monsanto’s motion to dismiss under Rule 12(b)(1),

12(b)(3), and 12(b)(6). Plaintiffs’ opposition (though wrongly suggesting that Monsanto’s motion

was made solely under Rule 12(b)(6)) likewise adopts Plaintiffs’ opposition to that motion. Bayer

Corp. now adopts and incorporates by reference Monsanto’s reply.
        B.      Plaintiffs Inaccurately Describe Their Allegations Against Bayer Corp. and
                Allege No Facts that Would Support Alter-Ego Liability.
        Bayer Corp.’s opening brief showed that Plaintiffs did not make relevant, specific factual

allegations as to Bayer Corp, but simply grouped Bayer Corp. together with other entities—

Monsanto and Bayer AG in allegations as to “Defendants,” and Bayer AG in allegations as to

“Bayer.” Mot. 7. In opposition, Plaintiffs point to four allegations they say defeat that argument.

Opp. 5-6. They are wrong.

        First, Plaintiffs’ point to their allegation that Bayer Corp. uses the trademarked slogan

“Science for a better life.” Opp. 5 (quoting Compl. ¶ 1). That is irrelevant. It has nothing to do

with allegations that Roundup® products are carcinogenic—it does not even purport to relate to

Roundup® products. It is merely fluff that Plaintiffs added to the beginning of their complaint for

rhetorical flair.

        Next, Plaintiffs point to their allegation that “[s]ince acquiring Monsanto, Bayer AG, along

with its US subsidiary, has persisted in designing, developing, manufacturing, testing, packaging,

marketing, distributing, labeling, and/or selling Roundup despite knowing that Roundup is unsafe

and causes NHL and other dangerous cancers.” Opp. 5 (quoting Comp. ¶ 19). But putting aside

that this allegation is contradicted by unrebutted testimony, Bayer AG has hundreds of United

States affiliates, including Monsanto. This is not an allegation specific to Bayer Corp.



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        Plaintiffs also say they allege that “Bayer Corp. ‘continue[s] to make the false and

misleading assertions that Roundup can be used safely and that glyphosate does not cause cancer.’”

Opp. 6 (quoting Compl. ¶ 139 & n.2). There is a reason the words “Bayer Corp.” are outside of

Plaintiffs’ quotation marks—their allegation was made as to “Defendants,” not as to Bayer Corp.

specifically.

        Plaintiffs last point to their allegation about a statement “Bayer” made in March 2023

regarding the research on glyphosate-based herbicides. Opp. 6 (quoting Compl. ¶ 85). But again,

this allegation is not made as to Bayer Corp., but as to “Bayer,” a term that Plaintiffs use to lump

Bayer AG and Bayer Corp. together.

        As Bayer Corp.’s opening brief showed, Plaintiffs have not made any relevant allegations

specifically as to Bayer Corp. And Plaintiffs do not even address—and have thus waived any

opposition to—Bayer Corp.’s argument that this is insufficient under Rule 8 or Rule 9(b), which

applies to Plaintiffs’ fraud-based claims in Counts VII, VIII, and IX. See Mot. 7-8

        Finally, Plaintiffs say that Bayer Corp. is liable “for Monsanto’s conduct as Monsanto’s

parent.” Opp. 6. Yet Plaintiffs do not contest that a parent company is liable for its subsidiary’s

actions only when “the parent controls the subsidiary to such a degree as to render the latter the

mere instrumentality of the former.” Mot. 7 (quoting Inst. of Vet. Pathology, Inc. v. Cal. Health

Labs., Inc., 172 Cal. Rptr. 74, 77 (Cal. Ct. App. 1981)). Plaintiffs have pleaded no facts, and

cannot, showing that Bayer Corp. has or exercises such control over Monsanto.
V.      LEAVE TO AMEND SHOULD BE DENIED AS FUTILE.
        The Court should deny Plaintiffs’ alternative request for leave to amend to add allegations

as to Bayer Corp. because amendment would be futile. There is unrebutted evidence that this

Court lacks personal jurisdiction over Bayer Corp. as to Plaintiffs’ claims, and Plaintiffs do “not

specify what ‘additional allegations’ [they] could make in favor of personal jurisdiction.” Doe v.

Compania Panamena de Aviacion, 2022 WL 1658229, at *2 (9th Cir. May 25, 2022).




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                                       CONCLUSION

       For all the above reasons, and those set forth in Bayer Corp.’s opening brief, the Court

should grant Bayer Corp.’s motion and dismiss Plaintiffs’ Complaint.



Dated: February 2, 2024


                                                   By:    /s/ John J. Rosenthal

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